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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

ANGELA ELLISON                                  §
                                                §
       Plaintiff,                               §
                                                §
vs.                                             §   CIVIL ACTION NO.
                                                §
ALLSTATE FIRE AND                               §           (JURY)
CASUALTY INSURANCE COMPANY                      §
                                                §
       Defendant.                               §


      DEFENDANT ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY’S
            NOTICE OF REMOVAL AND DEMAND FOR JURY TRIAL


TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Defendant Allstate Fire and Casualty Insurance Company (“Allstate”) files this Notice of

Removal and Demand for Jury Trial of Cause Number 048-295648-17, styled Angela Ellison v.

Allstate Fire and Casualty Insurance Company, currently pending in the 48th District Court,

Tarrant County, Texas. Allstate removes the case to the U.S. District Court for the Northern

District of Texas, Fort Worth Division. As grounds for removal, Allstate states as follows:

                                            I.
                                         OVERVIEW

       1.1     This case involves a dispute over insurance benefits under a Homeowners policy

of insurance issued by Allstate to Plaintiff Angela Ellison, for alleged storm damage to

Plaintiff’s home on March 16, 2016. (See Plaintiff’s Petition). Plaintiff commenced this action,

styled Angela Ellison v. Allstate Fire and Casualty Insurance Company, against Allstate by

filing her Plaintiff’s Original Petition on October 11, 2017 under Cause Number 048-295648-17

in the 48th District Court, Tarrant County, Texas. Plaintiff seeks to recover damages from the



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Defendant in excess of $100,000.00. Allstate was served with Plaintiff’s Petition on November

1, 2017. Therefore, this Notice of Removal is timely filed under 28 U.S.C. § 1446(b). A true

and correct copy of all process, pleadings, and the orders served upon Allstate in the state court

action are being filed with this Notice as required by 28 U.S.C. § 1446(a), and are attached

hereto as Exhibit “A”.

                                           II.
                                 DIVERSITY JURISDICTION

2.1    The District Courts of the United States have original jurisdiction over this action based

on complete diversity of citizenship between the parties as contemplated by 28 U.S.C. § 1332(a).

The Plaintiff is now, and was at the time the lawsuit was filed, a citizen and resident of the State

of Texas. (See Plaintiff’s Petition, page 1). Defendant Allstate is an Illinois Corporation with its

principal place of business in Illinois. Accordingly, Allstate is a citizen of the States of Illinois

and complete diversity exists.

                                           III.
                                      REMOVAL PROPER

       3.1     This Court has original jurisdiction over this case pursuant to 28 U.S.C. §

1332(a)(1) as an action wholly between citizens of different states with the matter in controversy

exceeding the sum or value of $75,000.00, exclusive of interest and costs.

       3.2     Under 28 U.S.C. § 1441(a), the removed action is proper in this Court as the

district and division embracing the place where the state court action is pending.

       3.3     Defendant Allstate, the removing party, will promptly give the parties written

notice of the filing of this Notice of Removal as required by 28 U.S.C. § 1446(d). Allstate will

promptly file a copy of this Notice of Removal with the clerk of 48th District Court, Tarrant

County, Texas, where the action is currently pending, also pursuant to 28 U.S.C. § 1446(d).




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       3.4.    Defendant hereby demands a trial by jury.

       WHEREFORE, PREMISES CONSIDERED, Defendant Allstate Fire and Casualty

Insurance Company, pursuant to these statutes and in conformance with the requirements set

forth in 28 U.S.C. § 1446, removes Cause Number 048-295648-17, styled Angela Ellison v.

Allstate Fire and Casualty Insurance Company, currently pending in the 48th District Court,

Tarrant County, Texas to this Court for trial and determination.

                                             Respectfully submitted,

                                             STACY | CONDER | ALLEN LLP


                                             By:     /s/ David G. Allen
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                                             ATTORNEYS FOR DEFENDANT
                                             ALLSTATE FIRE AND CASUALTY
                                             INSURANCE COMPANY



                                CERTIFICATE OF SERVICE

       On November 10, 2017, I electronically submitted the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel of record electronically or by
another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                  /s/ David G. Allen
                                             David G. Allen



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